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 6
                              UNITED STATES DISTRICT COURT
 7                 FOR THE WESTERN DISTRICT OF WASHINGTON AT TACOMA
 8
       JERALD S. GALVAN,
 9
                                   Plaintiff,           No. 3:23-cv-05237-BJR
10
       vs.
11                                                      Defendants’ Answer to Plaintiff’s
       CITY OF TACOMA, THE TACOMA                       Complaint for Damages
12     POLICE DEPARTMENT and OFFICERS
       ANDERSON Badge No. 260 and
13     KOMAROVSKY Badge No. 241, JOHN
       and JANE DOES 1-5
14
                                  Defendants.
15

16
             COMES NOW the Defendants City of Tacoma, Anderson, and Komarovksy (hereinafter
17
     collectively as “Defendants”) – by and through their undersigned attorneys – to offer the
18
     following response to Plaintiff’s Complaint for Damages filed with the Pierce County Superior
19
     Court on February 3, 2023 (hereinafter the “Complaint”) prior to removal to this Court, and to
20

21
     assert various affirmative defenses. In the event that the Defendants, through this Answer,

22   inadvertently fails to respond to any factual assertion contained within the Complaint that is

23   properly asserted against the Defendants, the Defendants denies the same. It should be noted that

24   the Defendants, through this Answer, admits some of the allegations set out in Plaintiff’s

25
        Answer to Plaintiff’s Complaint                                            Tacoma City Attorney
                                                                                       Civil Division
                                                                               747 Market Street, Room 1120
                                                                                  Tacoma, WA 98402-3767
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     Complaint in good faith; however, if subsequent discovery establishes that these allegations are
 1
     false, the Defendants reserve the right to amend its Answer accordingly.
 2

 3            The Defendants now admit, deny, and allege as follows:

 4                               [Plaintiff’s Statement on the] Nature of the Claim

 5            1.       In response to Paragraph 1 of the Complaint, the Defendants admit that Plaintiff

 6   brings this lawsuit and is seeking monetary damages for violations of Federal and State law.
 7   Defendants deny that there is merit to Plaintiff’s claims and Defendants deny Plaintiff is entitled
 8
     to recovery monetary damages from the Defendants through this action.
 9
                                      [Plaintiff’s Claims regarding] Jurisdiction
10
              2.       In response to Paragraph 2 of the Complaint, the Defendants admit the City of
11
     Tacoma is a municipal corporation properly operating within the State of Washington that has
12
     its principal offices in Tacoma, Pierce County, Washington.
13
              3.       In response to Paragraph 3 of the Complaint, the Defendants do not take a position
14
     on personal jurisdiction of this case by the Pierce County Superior Court, as this case has been
15

16   properly and successfully removed to the above Court. The Defendants admit that this Court

17   has personal jurisdiction over the Defendants.

18                                        [Plaintiff’s Claims regarding] Venue

19            4.       In response to Paragraph 4 of the Complaint, the Defendants do not take a position
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     on venue of the case within the Pierce County Superior Court, as this case has been properly and
21
     successfully removed to the above Court. The Defendants admit that the venue is proper in this
22
     Court.
23

24

25
        Answer to Plaintiff’s Complaint                                                   Tacoma City Attorney
                                                                                              Civil Division
                                                                                      747 Market Street, Room 1120
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                                                      Parties
 1
             5.        In response to Paragraph 5 of the Complaint, the Defendants have insufficient
 2

 3   information or knowledge to admit or deny; however, the Defendants admit in good faith that

 4   Plaintiff resides in Pierce County, Washington State.

 5           6.        In response to Paragraph 6 of the Complaint, the Defendants admit that the events

 6   that Plaintiff has put at issue in this case occurred within Pierce County, Washington State.
 7           7.        In response to Paragraph 7 of the Complaint, the Defendants admit that Officers
 8
     Anderson and Komarovsky were employees of the City of Tacoma on February 14, 2020. To
 9
     provide a complete response to the remaining allegations set out in Paragraph 7 of the Complaint,
10
     the Defendants would need to conduct legal analysis or offer legal conclusions – which is not
11
     required. To the extent a further response is required, Defendants assert that they will not contest
12
     that the individually named Officers were acting within the course and scope of their
13
     employment with the City at all times relevant to this lawsuit; however, Defendants deny that
14
     any tortious conduct occurred and Defendants deny that they are liable to Plaintiff in any capacity
15

16   in this case.

17           8.        In response to Paragraph 8 of the Complaint, the Defendants are not familiar with

18   John Does 1-5 and, as a result, have insufficient information or knowledge to admit or deny the

19   allegations set out in this Paragraph and, therefore, deny the same.
20
                                          [Plaintiff’s] Statement of Claim
21
             9.        In response to Paragraph 9 of the Complaint, the Defendants incorporate their
22
     responses to Paragraphs 1-8 herein by reference.
23
             10.       In response to Paragraph 10 of the Complaint,
24

25
        Answer to Plaintiff’s Complaint                                              Tacoma City Attorney
                                                                                         Civil Division
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                       a.       Defendants have insufficient information or knowledge to admit or deny
 1
     Plaintiff’s allegations about the February 14, 2020 collision as Defendants were not present. It
 2

 3   follows that Defendants deny the allegations set out in the first two sentences of Paragraph 10.

 4                     b.       Defendants admit that Plaintiff called 911 on March 14, 2020.

 5                     c.       Defendants deny that when “the police arrived, they asked Mr. Galvan

 6   about his gun.”
 7                     d.       Defendants deny that Plaintiff stated to the responding officers that “he
 8
     did not have his gun on him.”
 9
                       e.       Defendants deny Plaintiff’s version of the events when he states in this
10
     Paragraph that “to show them he did not have his gun Mr. Galvan raised his jacket to show that
11
     his holster was empty.”
12
                       f.       Defendants deny that “when the officers saw his holster, they all jumped
13
     on him.”
14
                       g.       Defendants deny that Plaintiff was placed in “a choke hold.”
15

16                     h.       Defendants deny that any of their actions caused Plaintiff to “lose

17   consciousness.” Further, as Defendants deny that “a choke hold” was utilized, Defendants deny

18   Plaintiff lost consciousness “as a result of being placed in a choke hold.”

19                     i.       Defendants admit that Plaintiff was placed in handcuffs; however,
20
     Defendants have insufficient information or knowledge to admit or deny the remaining factual
21
     allegations set out in the seventh sentence in Paragraph 10.
22
                       j.       Defendants have insufficient information or knowledge to admit or deny
23
     the eighth sentence in Paragraph 10 and, as a result, Defendants deny the same. By way of
24
     further response to the eighth sentence in Paragraph 10, see responses above.
25
        Answer to Plaintiff’s Complaint                                               Tacoma City Attorney
                                                                                          Civil Division
                                                                                  747 Market Street, Room 1120
                                                                                     Tacoma, WA 98402-3767
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             11.       In response to Paragraph 11 of the Complaint, the Defendants admit that medical
 1
     aid responded to the scene and evaluated Plaintiff following the complained of incident on
 2

 3   February 14, 2020.

 4           12.       In order for Defendants to offer a complete response to Paragraph 12 of the

 5   Complaint, the Defendants would have to conduct legal analysis or offer legal conclusions –

 6   which is not required. To the extent a further response is required, Defendants deny that
 7   Defendants engaged in any “unlawful action” and – by extension – Defendants deny that they
 8
     caused Plaintiff to incur any compensable damages.
 9
             13.       In order for Defendants to offer a complete response to Paragraph 13 of the
10
     Complaint, the Defendants would have to conduct legal analysis or offer legal conclusions –
11
     which is not required. To the extent a further response is required, Defendants admit that a City
12
     of Tacoma Claim for Damages Form relating to the complained of incident was provided to the
13
     Office of the City Clerk for the City of Tacoma on October 24, 2022. Defendants further admit
14
     that more than sixty days elapsed between the provision of the aforementioned Form and the
15

16   filing of the Complaint on February 3, 2020 with the Pierce County Superior Court. Defendants

17   do not plan to contest that Plaintiff complied with the requirements of RCW 4.96.020 in relation

18   to this action.

19                         [Plaintiff’s alleged Cause of Action in] Assault and Battery
20
             14.       In response to Paragraph 14 of the Complaint, the Defendants incorporate their
21
     responses to Paragraphs 1-13 herein by reference.
22
             15.       In order for Defendants to offer a complete response to Paragraph 15 of the
23
     Complaint, the Defendants would have to conduct legal analysis or offer legal conclusions –
24
     which is not required. To the extent a further response is required, Defendants deny.
25
        Answer to Plaintiff’s Complaint                                               Tacoma City Attorney
                                                                                          Civil Division
                                                                                  747 Market Street, Room 1120
                                                                                     Tacoma, WA 98402-3767
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             16.       In order for Defendants to offer a complete response to Paragraph 16 of the
 1
     Complaint, the Defendants would have to conduct legal analysis or offer legal conclusions –
 2

 3   which is not required. To the extent a further response is required, Defendants deny.

 4           17.       In order for Defendants to offer a complete response to Paragraph 17 of the

 5   Complaint, the Defendants would have to conduct legal analysis or offer legal conclusions –

 6   which is not required. To the extent a further response is required, Defendants deny.
 7   [Plaintiff’s alleged Causes of Action regarding] Violation of 42 U.S.C. § 1983 and the Fourth,
 8
                     Fifth, and Fourteenth Amendment to the United States Constitution
 9
             18.       In response to Paragraph 18 of the Complaint, the Defendants incorporate their
10
     responses to Paragraphs 1-17 herein by reference.
11
             19.       In order for Defendants to offer a complete response to Paragraph 19 of the
12
     Complaint, the Defendants would have to conduct legal analysis or offer legal conclusions –
13
     which is not required. To the extent a further response is required, Defendants deny.
14
             20.       In order for Defendants to offer a complete response to Paragraph 20 of the
15

16   Complaint, the Defendants would have to conduct legal analysis or offer legal conclusions –

17   which is not required. To the extent a further response is required, Defendants deny.

18                              [Plaintiff’s alleged Cause of Action in] Negligence

19           21.       In response to Paragraph 21 of the Complaint, the Defendants incorporate their
20
     responses to Paragraphs 1-20 herein by reference.
21
             22.       In order for Defendants to offer a complete response to Paragraph 22 of the
22
     Complaint, the Defendants would have to conduct legal analysis or offer legal conclusions –
23
     which is not required. To the extent a further response is required, Defendants deny.
24

25
        Answer to Plaintiff’s Complaint                                               Tacoma City Attorney
                                                                                          Civil Division
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             23.       In order for Defendants to offer a complete response to Paragraph 23 of the
 1
     Complaint, the Defendants would have to conduct legal analysis or offer legal conclusions –
 2

 3   which is not required. To the extent a further response is required, Defendants deny.

 4                         [Plaintiff’s Allegations regarding] Causation and Damages

 5           24.       In response to Paragraph 24 of the Complaint, the Defendants incorporate their

 6   responses to Paragraphs 1-23 herein by reference.
 7           25.       In order for Defendants to offer a complete response to Paragraph 25 of the
 8
     Complaint, the Defendants would have to conduct legal analysis or offer legal conclusions –
 9
     which is not required. To the extent a further response is required, Defendants deny.
10
             26.       In order for Defendants to offer a complete response to Paragraph 26 of the
11
     Complaint, the Defendants would have to conduct legal analysis or offer legal conclusions –
12
     which is not required. To the extent a further response is required, Defendants deny.
13
             27.       In order for Defendants to offer a complete response to Paragraph 27 of the
14
     Complaint, the Defendants would have to conduct legal analysis or offer legal conclusions –
15

16   which is not required. To the extent a further response is required, Defendants deny.

17           [The second Paragraph numbered] 27.            In order for Defendants to offer a complete

18   response to second Paragraph numbered 27 of the Complaint, the Defendants would have to

19   conduct legal analysis or offer legal conclusions – which is not required. To the extent a further
20
     response is required, Defendants deny.
21
             28.       In order for Defendants to offer a complete response to Paragraph 28 of the
22
     Complaint, the Defendants would have to conduct legal analysis or offer legal conclusions –
23
     which is not required. To the extent a further response is required, Defendants deny.
24

25
        Answer to Plaintiff’s Complaint                                             Tacoma City Attorney
                                                                                        Civil Division
                                                                                747 Market Street, Room 1120
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             29.       In order for Defendants to offer a complete response to Paragraph 29 of the
 1
     Complaint, the Defendants would have to conduct legal analysis or offer legal conclusions –
 2

 3   which is not required. To the extent a further response is required, Defendants deny.

 4                                          [Plaintiff’s] Prayer for Relief

 5           Section IX of the Complaint contains Plaintiff’s prayer for relief. In response to all

 6   Paragraphs contained within Plaintiff’s prayer for relief, the City denies that Plaintiff is entitled
 7   to recover any damages, compensation, and specific action from the Defendants, and Defendants
 8
     assert that Plaintiff’s request for a restraining order is unnecessary as Defendants do not intend
 9
     to retaliate against any witness who may be involved in this lawsuit.
10
                                          Defendants’ Affirmative Defenses
11
             By way of further response to Plaintiff’s Complaint, the Defendants assert the following
12
     affirmative defenses.
13
             1.        Failure to State a Cause of Action. The Complaint and each and every cause of
14
     action purported to be set forth therein fails to allege facts sufficient to state a claim against the
15

16   Defendants upon which relief can be granted.

17           2.        No Punitive Damages. Defendants deny that punitive damages are available

18   against Defendants.

19           3.        Proximate Cause. The Defendants state that there is no causation between the
20
     acts or omissions alleged against the Defendants and the damages claimed to have been sustained
21
     by Plaintiff.
22
             4.        Failure to Mitigate Damages. In order to preserve the defense and ensure that it
23
     is not waived, the Defendants asserts that Plaintiff has failed and refused to take reasonable steps
24
     to remedy, cure, or mitigate his damages as alleged in the Complaint and he is, therefore, now
25
        Answer to Plaintiff’s Complaint                                                Tacoma City Attorney
                                                                                           Civil Division
                                                                                   747 Market Street, Room 1120
                                                                                      Tacoma, WA 98402-3767
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     barred from any recovery in the present action as a result of and to the extent of such failure and
 1
     refusal.
 2

 3              5.       Qualified Immunity. The individual Defendants are entitled to qualified

 4   immunity under State and Federal law.

 5              6.       Reasonable and Lawful Actions. All actions by Defendants were performed in

 6   good faith, were reasonable, were based on probable cause, and were within their lawful
 7   authority.
 8
                7.       No Respondent Superior under 42 USC 1983. The City of Tacoma cannot be
 9
     held liable under a respondent superior theory pursuant to 42 U.S.C. § 1983.
10
                8.       Apportionment relating to Plaintiffs’ Contributory Negligence. The City alleges,
11
     that pursuant to Chapter 4.22 RCW, Plaintiff’s claimed damages should be apportioned among
12
     all persons/entities deemed by the jury to be “at fault,” whether parties to this action or not.
13
                Plaintiff’s possible contributory negligence will operate to assign fault to Plaintiff. At
14
     all times and places alleged in Plaintiff’s Complaint, Plaintiff so careless and negligently
15

16   conducted himself that he contributed directly and proximately to his alleged injuries and

17   damages. Plaintiff’s contributory negligence reduces any recovery against the Defendants (if

18   any) in an amount to be determined at trial. Further, Plaintiff’s contributory negligence prevents

19   a finding of joint and several liability in this case.
20
                9.       Public Duty Doctrine. Plaintiff’s negligence claims are barred by the Public Duty
21
     Doctrine.
22
                10.      No Discrimination, Retaliation, or Unlawful Purpose. Defendants’ conduct that
23
     Plaintiff has put at issue in the above-captioned lawsuit was not based on any discriminatory,
24
     retaliatory, or otherwise unlawful purpose.
25
        Answer to Plaintiff’s Complaint                                                Tacoma City Attorney
                                                                                           Civil Division
                                                                                   747 Market Street, Room 1120
                                                                                      Tacoma, WA 98402-3767
                                                                                 253-591-5885 / Fax 253-591-5755
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                11.       Negligence of Third Parties. The Defendants allege that Plaintiff’s injuries may
 1
     have been caused, in whole or in part, by persons and/or entities over which the Defendants have
 2

 3   no control.

 4              12.       Not a Substantial Factor. The Complaint and each cause of action thereof may be

 5   barred on the grounds that the Defendants’ conduct referred to in the Complaint was not a

 6   substantial factor in bringing about the injuries and damages complained of by Plaintiff.
 7              13.       Immunity from State Law Claims. RCW 4.24.420 provides that it is a “complete
 8
     defense to any [State law] action for damages for personal injury […] that the person injured
 9
     […] was engaged in the commission of a felony at the time of the occurrence causing the injury
10
     […] and the felony was approximate cause of the injury[.]” In order to avoid possible waiver of
11
     this defense, Defendants assert that Plaintiff may have been engaged in a felony at the time of
12
     the incident such that this defense is activated thereby creating a complete defense for
13
     Defendants to the State law claims set out in the Complaint.
14
                14.       Statute of Limitations. Defendants assert that some or all of Plaintiff’s claims and
15

16   causes of action set out in the Complaint are barred by the applicable statute of limitations.

17              15.       Reservation. The Defendants reserve the right to amend this Answer to assert

18   additional affirmative defenses, cross-claims, counter-claims, and/or claims against third-party

19   defendants as further information becomes known through subsequent investigation and
20
     discovery.
21

22
     ///
23
     //
24
     /
25
           Answer to Plaintiff’s Complaint                                                Tacoma City Attorney
                                                                                              Civil Division
                                                                                      747 Market Street, Room 1120
                                                                                         Tacoma, WA 98402-3767
                                                                                    253-591-5885 / Fax 253-591-5755
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          DATED this 27th day of March, 2023.
 1
                                       WILLIAM C. FOSBRE, City Attorney
 2

 3                                     By:           /s/ Barret Schulze
                                             Barret J. Schulze, WSBA No. 45332
 4                                           Deputy City Attorney
                                             Attorney for Defendants City of Tacoma,
 5                                           Anderson, and Komarovksy

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     Answer to Plaintiff’s Complaint                                       Tacoma City Attorney
                                                                               Civil Division
                                                                       747 Market Street, Room 1120
                                                                          Tacoma, WA 98402-3767
                                                                     253-591-5885 / Fax 253-591-5755
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                                          DECLARATION OF SERVICE
 1
             I hereby certify that on March 27, 2023, I electronically filed the foregoing with the Clerk
 2
     of the Court using the CM/ECF system. No Electronic Service Agreement is in place at this time
 3   so I will send a true and correct copy of this filing to the following via US Mail:

 4
     Attorneys for Plaintiff
 5
     Harold H. Franklin,
 6   Attorney at Law
     459 Seneca Ave NW
 7   Renton, WA 98057
 8

 9
                                DATED March 27, 2023 at Tacoma, Washington.
10

11                                            /s/Gisel Castro
                                              Gisel Castro, Legal Assistant
12                                            Tacoma City Attorney’s Office
                                              747 Market Street, Suite 1120
13                                            Tacoma, WA 98402
                                              (253) 591-5499
14
                                              Fax: (253) 591-5755
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        Answer to Plaintiff’s Complaint                                              Tacoma City Attorney
                                                                                         Civil Division
                                                                                 747 Market Street, Room 1120
                                                                                    Tacoma, WA 98402-3767
                                                                               253-591-5885 / Fax 253-591-5755
